 

Case 20-10802 Doci1 Filed 01/21/20 Page1of51

TTT Ma CMICOLILIE OLA Sone AtiStA ak Ze LM ecco

 

"United States Bankruptcy Court for the:
District of Maryland

Chapter you are filing under:
Chapter 7

C2) Chapter 11

O Chapter 12

(J Chapter 13

 

| Case number (if known):

     

“( Cheek if this is an
amended filing

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12117

 

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

EEE teeny Yourself

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
4. Your full name
Write the name that is on your
government-issued picture Tache -
identification (for example, First name First name
your driver's license or Alexus
passport). Middle name Middle name
Bring your picture Scott
identification to your meeting —- Last name Last name
with the trustee.
Suffix (Sr, Jr., tH, Ul) Suffix (Sr, Jr., H, fl)

 

2. All other names you

 

 

 

 

 

 

have used in the last 8 First name First name
years
Include your married or Middle name Middle name
maiden names.
Last name ‘ Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of
your Social Security wx - xx-_ 7 7 1 6 XXX = AK
number or federal OR OR
Individual Taxpayer 9
Identification number XK XK TL 9xx - x -_
(ITIN)

     

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
 

Debtor 1

 

 

Case 20-10802 Doci1 Filed 01/21/20 Page 2of51

 

 

Tache Alexus Scott Case number (tknown)
First Name Middie Name Last Name
About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

4. Any business names
' and Employer Wl | have not used any business names or EINs. (1 | have not used any business names or EINs.

Identification Numbers
(EIN) you have used in
the last 8 years Business name Business name

 

Include trade names and

doing business as names

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Business name : Business name
EIN TO EN. |
EIN ee EN
5. Where you live If Debtor 2 lives at a different address:

6314 Greenspring Ave.

Number Street Number Street

Apt. 303

Baltimore MD 21209

City State ZIP Code City State ZIP Code

Baltimore County

County County

If your mailing address is different from the one If Debtor 2’s mailing address is different from

above, fill it in here. Note that the court will send yours, fill it in here. Note that the court will send

any notices to you at this mailing address. any notices to this mailing address.

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code

6. Why you are choosing Check one: Check one:
this district to file for Zi oe oe
bankruptcy Over the last 180 days before filing this petition, CQ Over the tast 180 days before filing this petition,

| have lived in this district longer than in any | have lived in this district longer than in any
other district. other district.

(J | have another reason. Explain. () | have another reason. Expiain.
(See 28 U.S.C. § 1408.) (See 28 U.S.C. § 1408.)

 

 

 

 

 

 

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 2
 

Debtor 4
First Name

Tache Alexus

Middle Name

Case 20-10802 Doci1 Filed 01/21/20 Page3of 51

Scott

Last Name

Case number (if known),

aa the Court About Your Bankruptcy Case

 

7. The chapter of the
Bankruptcy Code you
are choosing to file
under

s. How you will pay the fee

9. Have you filed for
bankruptcy within the
last 8 years?

40. Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

41. Do you rent your
residence?

Official Form 101

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Aiso, go to the top of page 1 and check the appropriate box.

Wd Chapter 7

CJ Chapter 11
OQ Chapter 12
Chapter 13

I will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

CI need to pay the fee in installments. if you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in Installments (Official Form 103A).

() | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unabie to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

W No

Ch Yes. District When

MM/ DD /YYYY

Case number

 

 

 

 

 

 

 

 

 

District When Case number
MM/ DD /YYYY
District When Case number
MM/ DD /YYYY
WA No
(1 Yes. Debtor Relationship to you
District When Case number, if known.
MM/DD /YYYY
Debtor Relationship to you
District When Case number, if known.
MM /DD/YYYY
CI No. Go to line 12.

W Yes. Has your landiord obtained an eviction judgment against you?

No. Go to line 12.

(2) Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for individuals Filing for Bankruptcy page 3

 
 

 

Case 20-10802 Doci1 Filed 01/21/20 Page4of51

Debtor 1 Ta ch e Alexu $ Scott Case number (i known),

First Name Middle Name Last Name

Fee Foret About Any Businesses You Own as a Sole Proprietor

12. Are youasole proprietor (J) No. Goto Part 4.
of any full- or part-time
business? (C] Yes. Name and location of business

A sole proprietorship is a
business you operate as an - -
individual, and is not a Name of business, if any
separate legal entity such as

j ration, ip, or
a corpo ation, partnership, 01 Number Sheet

 

 

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

City State ZIP Code

Check the appropriate box to describe your business:

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
(J Stockbroker (as defined in 11 U.S.C. § 101(53A))

C] Commodity Broker (as defined in 11 U.S.C. § 101(6))

LJ None of the above

43. Are you filing under if you are filing under Chapter 11, the court must know whether you are a smail business debtor so that it
Chapter 11 of the can set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if

are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debtor?
For a definition of small

business debtor, see CI No. tam filing under Chapter 11, but 1 am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.

No. 1am not filing under Chapter 11.

1 Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

aa Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14, Do you ownorhave any (no
property that poses or is
alleged to pose a threat (J Yes. What is the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any
property that needs

. . a ae i 9
immediate attention? if immediate attention is needed, why is it needed?

 

For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZIP Code

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 4

 
Debtor 1
First Name

Tache Alexus

Middle Narne

Scott

Last Name

te oon Your Efforts to Receive a Briefing About Credit Counseling

Case number (if known),

Case 20-10802 Doci1 Filed 01/21/20 Page5of51

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will tose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

i i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

(2 | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but ! do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

(J | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadiine is granted
only for cause and is limited to a maximum of 15
days.

(J | am not required to receive a briefing about
credit counseling because of:

(J incapacity. | have a mental iliness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

a Disability. | My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

O Active duty. | am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for individuals Filing for Bankruptcy

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

(1) | received a briefing from an approved credit
counseling agency within the 180. days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
pian, if any, that you developed with the agency.

(1 | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
pian, if any.

C1 certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
stil! receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

LJ | am not required to receive a briefing about
credit counseling because of:

Ll Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

(2 Disability. My physical disability causes me
to be unabte to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

(J Active duty. i am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

page 5

 
Case 20-10802 Doci1 Filed 01/21/20 Page 6of51

Debtor 1
First Name

Tache Alexus

Middle Name

Scott

Last Name

Case number (if known),

oe oe These Questions for Reporting Purposes

 

46. What kind of debts do
you have?

47. Are you filing under
Chapter 7?
Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution

18. How many creditors do
you estimate that you
owe?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

C2 No. Go to line 16b.
Yes. Go to line 17.

46b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

(J No. Go to fine 16c.
C) Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

LJ No. {am not filing under Chapter 7. Go to line 18.

Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

i No
QO) Yes
i 1-49 CI 1,000-5,000 ©) 25,001-50,000
QC) 50-99 (2 5,001-10,000 (9 50,001-100,000
LJ 100-199 C3 10,001-25,000 (J More than 100,000
200-999 a enn pn tre eet
Wi $0-$50,000 CJ $1,000,001-$10 million (2 $500,000,001-$1 billion

19. How much do you
estimate your assets to
be worth?

. QO $500,001-$1 million

20. How much do you
estimate your liabilities
to be?

enka sion Below

For you

Official Form 101

UO $1,000,000,001-$10 billion
(3 $10,000,000,001-$50 billion
_U More than $50 billion

() $10,000,001-$50 million
LJ $50,000,001-$100 million
. QO $100,000,001-$500 milli

(2 $50,001-$100,000
(2 $100,001-$500,000

 

(2 $500,000,001-$1 billion

() $1,000,000,001-$10 billion
(2 $10,000,000,001-$50 billion
C) More than $50 billion

(3 $1,000,001-$10 million

(3 $10,000,001-$50 million
C1 $50,000,001-$100 million
C) $100,000,001-$500 million

i $0-$50,000

[) $50,001-$100,000
[) $100,001-$500,000
C} $500,001-$4 million

| have examined this petition, and | declare under penaity of perjury that the information provided is true and
correct.

if | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 41,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney fo help me fill out
this document, | have obtained and read the notice required by 14 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

t 4
* 2 Set I x 4 T
Signature of Debtor 1 Signature of Debtor 2
Ni Psp GA OP
Executed on Gl iS ave Q Executed on

   

MM DD HYYYY mm / DD /YYYY

Voluntary Petition for Individuals Filing for Bankruptcy page 6

 
 

Case 20-10802 Doci1 Filed 01/21/20 Page 7 of 51

Debtor 1 Tache Alexus

First Name Middle Name

For you if you are filing this
bankruptcy without an
attorney

if you are represented by
an attorney, you do not
need to file this page.

Scott Case number (jf known),
Last Name

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
atso deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption jaws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

OQ) No
SA Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

(J No
\d Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
C No

J Yes. Name of Person_Valli Lampkin .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attomey. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handie the case.

oN g fh

Official Form 101

 

 

 

 

 

 

Signature of Debtor 7 Signature of Debtor 2
Date RY LS DL Zh Date
MM/DD /YYYY MM/ DD /YYYY
Contact phone Contact phone
Ceitphone (443) 897-8015 Cell phone
Email address tache.scott@gmail.com Email address

 

 

Voluntary Petition for individuats Filing for Bankruptcy page 8

 
 

Case 20-10802 Doci1 Filed 01/21/20 Page 8of 51

aT MAM MULLOLULTli elim emt A Lm

Debtor 4 Tache Alexus Scott

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: District of Maryland

 

Case number () Check if this is an
(if known) amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15
Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct

information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

Your assets
Value of what you own
4. Schedule A/B: Property (Official Form 106A/B)

 

4a. Copy line 55, Total real estate, from Schedule A/B..........c..--sssssssesssnsssnnesesceneesseeestterssenmnesnennsnunsnannanaraeeeeceeenarazaragany $0.00
1b. Copy line 62, Total personal property, from Schedule A/B..........-cessesesseeesceresssssenrenneesceeneneetannererenensncercreanannensnreneeney $ 2,508.00
1c. Copy line 63, Total of all property on Schedule A/B «eee ten eseeneen en nen etter Ee Ee ERE TERETE RR $ 2,508.00

 

 

 

Summarize Your Liabilities

Your liabilities
Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D $ 0.00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

0.00
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e Of Schedule E/F |... ccs eceeseeteteteeteneentcee $

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule ELF .......... cece eee tteeeereeres + 5 19,444.57

 

 

 

 

 

Your total liabilities s___ 19,444.57
BRE summarize Your Income and Expenses
4, Schedule I: Your income (Official Form 106!) 4600.00
Copy your combined monthly income from line 12 of Schedule |... essere seeseeesenerecetsnreneneencanttaanaren terest $_ eee
5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22¢ Of SCHECUIE J .......-.esescscscecete teste eects nett e ee REE $ ___ 2,217.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

 
Case 20-10802 Doc1 Filed 01/21/20

Debtor 1 Tache Alexus Scott Case number (if known),

First Name Middle Name Last Name

ee tnewer These Questions for Administrative and Statistical Records

Page 9 of 51

 

6. Are you filing for bankruptcy under Chapters 7, 41, or 13?

(J No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

a Yes

7. What kind of debt do you have?

Wi Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,

family, or household purpose.” 11 U.S.C. § 101{8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

{J} Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

this form to the court with your other schedules.

3. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official

Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F.

 

 

 

 

 

 

$ 1,600.00

 

 

Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy tine 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
Qd. Student loans. (Copy line 6f.) $ 0.00
Ye. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00
priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +5§ 0.00
9g. Total. Add lines 9a through Sf. $ 0.00

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical information

page 2 of 2

 

 
 

 

Case 20-10802 Doci Filed 01/21/20 Page 10of51

TTR SIC CON CS LLL i LolemerRU RULLRLLS B

Debtor? _Lache Alexus Scott

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name

 

United States Bankruptcy Court for the: District of Maryland

Case number

 

Q) Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

PEE vescrive Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest in

14. Do you own or have any legal or equitable interest in any residence, bullding, land, or similar property?

wi No. Go to Part 2.
C) Yes. Where is the property?

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

O Single-family home the amount of any secured claims on Schedule D:

44. Creditors Who Have Claims Secured by Property.

Q Duplex or multi-unit building

 

Street address, if available, or other description

 

 

 

CJ} Condominium or cooperative Current value of the Current value of the
(3 Manufactured or mobile home entire property? portion you own?
(2 tand $ $
{] investment property
i Describe the nature of your ownershi
City State ZIP Code 5 one interest (such as fee sinple, tenancy by

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

LJ Debtor 4 only

County ©) Debtor 2 only

OD pebtor 1 and Debtor 2 only tJ Check if this is community property
(see instructions)

 

 

() At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

If you own or have more than one, list here:

i ?
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
O Single-family home the amount of any secured claims on Schedule D:

 

 

 

 

 

 

 

4.2. = amit huitdi Creditors Who Have Claims Secured by Property.
Street address, if available, or other description 5 Duplex or mult unit building
Condominium or cooperative Current value of the Current value of the
(3 Manufactured or mobile home entire property? portion you own?
() Land $ $.
LJ Investment property h
Describe the nature of your ownership
City State ZIP Code 5 Timeshare interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
QC] Debtor 1 only
County ( Debtor 2 only
(J Debtor 1 and Debtor 2 only (J check if this is community property
(2 At jeast one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule A/B: Property page 1

 
 

 

 

First Name Middle Name Last Name

What is the property? Check ail that apply.

13 Q Single-family home

 

Street address, if available, or other description Q Duplex or multi-unit building
(2 Condominium or cooperative
LJ] Manufactured or mobile home
J Land
C) investment property
City State ziPCode J) Timeshare
) other

 

 

 

Who has an interest in the property? Check one.
LY Debtor 4 only

C) pebtor 2 only

(J Debtor 1 and Debtor 2 only

C2 At least one of the debtors and another

 

County

property identification number:

Debtor1  Lache Alexus Scott Case number (ifkaown)

Case 20-10802 Doci Filed 01/21/20 Page11of51

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

C) check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

 

Describe Your Vehicles

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Wd No

CJ Yes

3.1. Make: Who has an interest in the property? Check one.
Model: Q) pebtor 4 only
Year: Q Debtor 2 only

(] Debtor 1 and Debtor 2 only
Approximate mileage: (J At teast one of the debtors and another
Other information:

 

() check if this is community property (see

 

instructions)
\f you own or have more than one, describe here:
3.2. Make: Who has an interest in the property? Check one.
Model: (2 debtor 4 only

U2 Debtor 2 only
(J Debtor 1 and Debtor 2 only
LJ At least one of the debtors and another ‘

Year:
Approximate mileage:

Other information:

C2 check if this is community property (see
instructions)

 

 

 

Official Form 106A/B Schedule A/B: Property

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ...............-sceseeeeesereetteenereeterneeeesnnrnceeees

 

§ 0.00

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

page 2

 
 

 

 

Case 20-10802 Doci Filed 01/21/20 Page12o0f51

Debtor 4 Tache Alexus

First Name Middle Name

3.3. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

3.4, Make:
Model:
Year:
Approximate mileage:

Other information:

 

}
}

 

 

Who has an interest in the property? Check one.

C3 Debtor 4 only

(2 pebtor 2 only

Ql Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

Q) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

C2] Debtor 4 only

C2 Debtor 2 only

(2) pebtor 1 and Debtor 2 only

Q] At least one of the debtors and another

Check if this is community property (see
instructions)

Case number (if known),

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

J No

) Yes

4.1. Make:
Model:

Year:

 

 

Other information:

 

 

 

if you own or have more than one, list here:

4.2. Make:
Model:

 

 

Year:

 

 

 

: jon: entire property? ortion you own?
Other information: (2 At least one of the debtors and another property P ¥
C) check if this is community property (see $ §
i instructions)
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages 0.00
you have attached for Part 2. Write that mumber Were sc seecsseeenceeeteescen sttrneescttnnenarnnnannencectttnnenteconrercteinnnnnn anette >

Official Form 106A/B

Who has an interest in the property? Check one.

QJ Debtor 4 only

LL) Debter 2 only

() Debtor 1 and Debtor 2 only

(2 At least one of the debtors and another

(2) check if this is community property (see
instructions)

Who has an interest in the property? Check one.

CJ vebtor 1 only
LJ Debtor 2 only
(2) Debtor 4 and Debtor 2 only

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

 

 

 

page 3

 
 

 

Case 20-10802 Doci Filed 01/21/20 Page13o0f51

Debtor 4 Tache Alexus Scott Case number (if mnown),
First Name Middle Name Last Name

REY vase’ Your Personal and Household Items

 

 

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings

Examples: Major appliances, furniture, linens, china, kitchenware

OQ No enema omen ce teams neem cena sneucees tonmteneane = wim enero + site stnme atm natin MR A SEER RAE OITA IS AA CATE

Yes. Describe.......... Couch, Bed, Dresser : $ 250.00
7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment, computers, printers, scanners; music
collections: electronic devices including cell phones, cameras, media players, games

C) No etn iy in ei unui nnnnencen nn mr nninnt
W Yes. Describe.......... 2 TVs, 2 Laptops $ 300.00

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

02 No woe een - sesiacnne ee ve oy
C) Yes. Describe.......... ¢§ 0.00

 

 

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
A No sectarian nammicimnieee

C] Yes. Describe.......... : | $ 0.00

 

 

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
W No creepiest tate iesein nant wines cneiteiem steams neinnage eit ntnenssiaeniianmmaseicmmmtinnitiaranajiamansnsttainecenmmnic
(2 Yes. Describe.......... 3 0.00

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
No cece nen rt unaseitren un nsiememenimn scene pane en
W Yes. Describe.......... : Personal sg 100.00

 

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
a No icin pug its ten inmaaettatin einai nite tenastainiteymhamei nematen( tm Semin sn earn memes me Cartman 8 SAR A ARS

; : : 50.00
C1 Yes. Describe... Costume Jewelry $§_____*-———

13. Non-farm animals
Examples: Dogs, cats, birds, horses

2 No op pte pete erin pitti tnnmttitnntn tiem tect
Q) Yes. Describe..........: § 0.00

 

 

14. Any other personal and household items you did not already list, including any health aids you did not list

W No
QO] Yes. Give specific
information. ..........06

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 700.00
for Part 3. Write that NUMBER NEL cesses sssssetesetesesssenssetssetunnenssensneennntenceetsettssnineseernenenaaremaeesaetsnnnraareneety >

 

 

 

Official Form 106A/B Schedule A/B: Property page 4

 
 

Case 20-10802 Doci Filed 01/21/20 Page14of51

Scott

Last Name

Alexus

Middle Name

Tache

First Name

FREE veseree Your Financial Assets

Do you own or have any fegai or equitable interest in any of the following?

Debtor 1 Case number (if known),

 

Current value of the
portion you own?
Do not deduct secured claims

 

 

 

 

 

 

 

 

 

 

 

 

 

or exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
QO) No
Ve coccccccsvcssssessseeussnnnesenneseniesesnstinstceenasesantaenninnenenieinstiantussineneeesaeemantarennannccteneemensaena CSM. cece $ 5.00
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. if you have multiple accounts with the same institution, list each.
CJ No
Ves oie Institution name:
417.1. Checking account: Navy FCU $ 0.00
17.2. Checking account: M & T Bank $ 3.00
47.3. Savings account: Navy FCU 5 0.00
17.4. Savings account: $
17.5. Certificates of deposit: $
47.6, Other financial account Checking - First Financial $ 400.00
47.7, Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $

 

48. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

W No

Institution or issuer name:

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

Wi No

 

 

Name of entity: % of ownership:
C} Yes. Give specific 0% %
information about 0%
HEM... cccccceeeeeeeeeees 9 %
0% %

 

Official Form 106A/B Schedule A/B: Property

 

page 5

 
 

 

Case 20-10802 Doci Filed 01/21/20 Page 15 of 51

Debtor 4 Tache Alexus Scott Case number (if known)

First Name Middie Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a No
(J Yes. Give specific !ssuer name:
information about
them... $____
$e
$
21. Retirement or pension accounts
Examples: interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
WZ No
C) Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: $e
Pension pian: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
CJ No
4 YOS woe neers Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: Landlord $ 300.00
Prepaid rent: $
Telephone: $
Water: $.
Rented furniture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
Z No
Yes occ Issuer name and description:
$
$e
$
Official Form 106A/B Schedule A/B: Property page 6

 
 

 

Case 20-10802 Doci Filed 01/21/20 Page 16 of 51

Debtor 1 Tache Alexus Scott Case number (if known),

First Name Middle Name Last Name

 

24, Interests in an education IRA, in an account ina qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b}{1).

a No
CD YOS ceccecececcccccseeeeeeees

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

WI No

(CI Yes. Give specific
information about them... :
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: internet domain names, websites, proceeds from royalties and licensing agreements

W No

Ud Yes. Give specific
information about them....:

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

Wi No

Cl Yes. Give specific
information about them....; i$

 

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

() No

Zi Yes. Give specific information

about them, including whether 2018 taxes not filed | Federal: $___
you already filed the returns State: $ 300.00
and the tax years. .......... ee : socal $ 0.00

 

 

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

Wi No

() Yes. Give specific information.............. P

 

Alimony:

 

$_
: Maintenance: $
Support: $
: Divorce settement $ ____
. Property settlement: $
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
1 No a en neem
G] Yes. Give specific information.............. :

Official Form 106A4/B Schedule A/B: Property page 7

 
Case 20-10802 Doci Filed 01/21/20 Page17of51

Debtor 4 Tache Alexus Scott Case number (f known)

First Name Middle Name Last Name

 

31. interests in insurance policies
Examples: Heaith, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

Wd No

() Yes. Name the insurance company

. oN Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

$

 

 

32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

A No

() Yes. Give specific information..............

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue
a No perm tenn en a NN a Nam mee mam
J Yes. Describe each claim. ..........-..-

iin neater sas &

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

Wd No

(2 Yes. Describe each claim. ..............---

 

35. Any financial assets you did not already list

a No o eeveceeerimeneene etme ies nae etree gh pune anne ep ete can cine rpacan faints emit nent RN Ee AAR
Cl Yes. Give specific information............

 

 

 

 

 

36. Add the dollar vatue of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number Were .......ccc.cccesssssseccassscceseceeesesesessesasecessenseeusennngengenestnassssseeerennnnacsnssseeeencecnuannecanecciramaeennoentns > s___ 1,808.00.

 

 

 

ERE cescrive Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.Do you own or have any legal or equitable interest in any business-related property?
No. Go to Part 6.
LJ Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims

 

or exemptions.
38. Accounts receivable or commissions you already earned
1 No ene teen ee ante
Cl] Yes. Describe......
i $

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

QO No
1 Yes. Describe.......

Official Form 106A/B Schedule A/B: Property page 8

 
 

 

Case 20-10802 Doci Filed 01/21/20 Page18 of 51

Debtor 4 Tache Alexus Scott Case number (known),

Firet Name Middie Name Last Name

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

No
O Yes. Describe

 

41. Inventory
UI No ecw nny neste evens seme mn
C) Yes. Describe.......

 

42. Interests in partnerships or joint ventures

LJ) No

U) Yes. Describe....... Name of entity: % of ownership:

$

 

%

AF

%

43. Customer lists, mailing lists, or other compilations

UC No
(1 Yes. Do your lists include personaily identifiable information (as defined in 11 U.S.C. § 101(41A))?

(J No
C} Yes. Deseribe........ :

 

44. Any business-related property you did not already list
U) No

(J Yes. Give specific
information .........

 

.

 

fr A A

 

 

A

 

 

A

 

 

 

45, Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0.00
for Part 5. Write that number here ..................... peseeeuevusessesescaciunsenrasasasccqunianaceeceqtucauinssenseeresesansannnceececespiiecaseeeteeccunansnnanersaneens >

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
if you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
Qf No. Go to Part 7.
CI Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims

or exemptions.
47. Farm animais
Examples: Livestock, poultry, farm-raised fish
C) No
CD VES ee ccsesseececeeeee . orm esnecnen renews ntsc nema ene
$e

 

 

Official Form 106A/B Schedule A/B: Property page 9

 

 
 

Case 20-10802 Doci Filed 01/21/20 Page 19 of 51

Debtor 1 Tache Alexus Scott Case number (if known),

First Name Middle Name Last Name

 

48. Crops—either growing or harvested

C) No een eet newest wenn ceeeecicttstut teas ipementimnecnine cineniniesinainintsnrng itemise

(2 Yes. Give specific . :
information. ............ . :

 

 

49.Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
J No
O ves. oe ens nn ecru ingen sein nnn sini ena manne ns

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CI No
CDV eS occ r ~— ~ ee
ceeniantnecvarneritag isoenets eh EER nH Nm mit SEI EER RENAN A Ha ng RNs AEN Rn SOR IIE ERE AUR EE RSA EA TT seme ‘men vet, ee §

51. Any farm- and commercial fishing-related property you did not already list

LJ No ee

(] Yes. Give specific.

information. ............ ' $

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0.00

for Part 6. Write that number Mere oo... ccc ccc cccessssssssececeeecnveceesar senessnnennesesconsecesusaneceesasnanscercunvecteceanievsaneneensanssnectaniassntes >

FEEREAE Describe All Property You Own or Have an interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?

Examples: Season tickets, country club membership

w No eon tam nincecnnennteninnetneenaniinanemqinmnien tne nominal mantener mente aterm ate mn AON A A

1 Yes. Give specific

information. ............ :
54, Add the dollar value of all of your entries from Part 7. Write that number here... > s____——9.00
List the Totals of Each Part of this Form

55. Part 4: Total real estate, iN@ 2 ..--vum:nnnnnimnmsinnnnieinninninnnnnnnninennnninnnsnnrennnnnnnsnintientntnne > ¢ 0.00
56. Part 2: Total vehicles, line 5 $ 0.00
57. Part 3: Total personal and household items, line 15 $ 700.00
58. Part 4: Total financial assets, line 36 $ 1,808.00
59. Part 5: Total business-related property, line 45 $ 0.00
60. Part 6: Total farm- and fishing-related property, line 52 $. 0.00
61. Part 7: Total other property not listed, line 54 +3
62. Total persona! property. Add lines 56 through 61. ................  §$ 2,508.00 ‘Copy personal property total > +5 2,508.00
63. Total of all property on Schedule A/B. Add line 55 + line 62... secs sessteesreesetssertecttennsenanenensennenenennan tsetse tenes $ 2,508.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 10

 

 
 

Case 20-10802 Doci Filed 01/21/20 Page 20 of 51

TRUM UAT MUMIC TALI CctrCeLe COMO CCULLULb aR kent Laeo Lod

Debtor1 _lache Alexus Scott

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Maryland

 

Case number (2 Check if this is an
(if known) amended filing

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 406A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicabie statutory amount.

ee tentity the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

C1 You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
(J You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

Schedute A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief -
description. Household Goods $250.00 Ws 250.00 MD Cts & JP 11-504(b)(4)
Line from C2 100% of fair market value, up to
Schedule AB: § any applicable statutory limit
Bre ction; Electronics $300.00 Wis 300.00 MD Cts & JP 11-504(b)(4)
tne from CJ 100% of fair market value, up to
Schedule A/B: 1 any applicable statutory limit
ne tion; Clothes ¢ 100.00 Ws 100.00 MD Cts & JP 11-504(b)(4)
Line from L) 100% of fair market value, up to
Schedule AB: 11 — any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

WM No

(J Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

CI No
(Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2

 
 

Tache

First Name

EE sssisona Page

Debtor 4

Alexus
Middie Name

Case 20-10802 Doci Filed 01/21/20 Page 21 o0f51

Scott

Last Name

Case number (Ff known),

 

Brief description of the property and line

on Schedule A/B that lists

Current value of the
this property portion you own

Copy the value from

Amount of the exemption you claim

Check only one box for each exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B
Gescrption, | Jewelry s 50.00 Ms 50.00
Line from 42 CJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: Cash $ 5.00 Ws 5.00
Line from (J 100% of fair market value, up to
Schedule A/B: 16 any applicable statutory limit
Ene ption; © -DepositsofMoney 403.00 ws 403.00
Line from 17 (1) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Soscrption: Security Deposit $ 300.00 Ws 300.00
Line from 22 ©) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Bret pion: 12% Refunds 51,100.00 ws __ 1,100.00
Line from Cd 100% of fair market value, up to
Schedule A/B: 28 any applicable statutory limit
Brief
description: §. Os
Line from (2 100% of fair market value, up to
Schedule AB: ~~ any applicable statutory limit
Brief
description: $ Os
Line from C2 100% of fair market value, up to
Schedule A/B: any applicabie statutory limit
Brief
description: $ Os
Line from 0 100% of fair market value, up to
Schedule A/B:. ——— any applicable statutory limit
Brief
description: $ Us
Line from CJ 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory limit
Brief
description: $ Os
Line from C2 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market value, up to
Schedule A/#B:. ——- any applicable statutory limit
Brief
description: $ is
Line from U 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

Official Form 106C

Schedule C: The Property You Claim as Exempt

 

Specific laws that allow exemption

MD Cts & JP 11-504(b)(4)

 

MD Cts & JP 11-504(b)(5)

 

MD Cts & JP 11-504(b)(5)

 

MD Cts & JP 11-504(b)(5)

 

MD Cts & JP 11-504(b)(5)

 

 

 

 

 

 

page 2_ of 2.

 
 

 

Case 20-10802 Doci Filed 01/21/20 Page 22 of 51

STII TAM CA) SMITLCOLECLELAce]2 come (sna) ih me ceria ere

Debtor? _pache Alexus Scott

 

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Maryland

 

Case number . oe
(if known) O) Check if this is an

amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 42118

Be as complete and accurate as possible. !f two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

4. Do any creditors have claims secured by your property?
i No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
CQ Yes. Fill in all of the information below.

PEER bist au secured Claims
Column A Column B Column G

2. List all secured claims. if a creditor has more than one secured claim, list the creditor separately amountofclaim | Value of-collateral Unsecured
for each claim. {f more than one creditor has a particular claim, list the other creditors in Patt2. 6. not deduct the that supports this _ portion

As much as possible, fist the claims in alphabetical order according to the creditor's name. value of collateral. claim itany

[2.4] Describe the property that secures the claim: $ $. $
Creditors Name i

 

i

 

i
i
}

 

 

 

 

 

 

 

 

 

 

 

Number Street :
As of the date you file, the claim is: Check all that apply.
Q Contingent
unliquidated
City State ZIP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check ali that apply.
(2 Debtor 1 only LJ An agreement you made (such as mortgage or secured
QO) Debtor 2 only car loan)
(Q Debtor 1 and Debtor 2 only C) Statutory tien (such as tax lien, mechanic's lien}
C] At least one of the debtors and another C} Judgment lien from a tawsuit
© other (including a right to offset)
(J Check if this claim relates to a
community debt
_Date debt was incurred _________Last 4 digits of account number __.__ even ssnt iin egestas engtnsnac ..
L2.2| Describe the property that secures the claim: $ $. 8,
Creditors Name j }
: i
|
Number Street it :
As of the date you file, the claim is: Check all that apply.
Q Contingent
CI unliquidated
City State ZIP Code QO) Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
CQ) Debtor 4 only CQ An agreement you made (such as mortgage or secured
C} Debtor 2 only car loan)
C3 Debtor 1 and Debtor 2 only Q Statutory lien (such as tax lien, mechanic's lien)
CI At least one of the debtors and another (2 Judgment lien from a lawsuit

O other (including a right to offset)

 

1 Check if this claim relates to a
community debt

Date debt was incurred ___

   

 

 

Add the dollar value of your entries in Cotumn A on this page. Write that number here:

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1

 
 

 

 

Case 20-10802 Doci Filed 01/21/20 Page 23 of 51

TIMID ULEMLoLeL tcl trele me OR SCLLLTEA Be Len Leto

Scott

Middie Name

Tache Alexus

First Name

Debtor 1

 

Last Name

Debtor 2
(Spouse, if filing} First Name

 

Middle Name

United States Bankruptcy Court forthe: District of Maryland

 

O) Check if this is an

Case number amended filing

(If known)

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result ina claim. Also list executory contracts on Schedule
AVB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. \f more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number {if known).

eee ut All of Your PRIORITY Unsecured Claims

4. Do any creditors have priority unsecured claims against you?
Wl No. Go to Part 2.
QL] Yes.

2. List all of your priority unsecured claims. {f a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim itis. if a claim has both priority and nonpriority amounts, list that claim here and show both priority and

nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. if you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

12/15

 

 

 

 

 

 

 

 

 

 

Total claim Priority Nonpriority
amount amount
2.4
Last 4 digits of account number_CS 8 $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
City State ZIP Code C1 Contingent
O) unliquidated
Who incurred the debt? Check one. Cl bisputea
() Debtor 1 only
2 Debtor 2 only Type of PRIORITY unsecured claim:
(2 Debtor 1 and Debtor 2 only O domestic support obligations
Cd At least one of the debtors and another 2 Taxes and certain other debts you owe the government
(2 Check if this claim is for a community debt U Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
GU no C2) Other. Specify
Ayes . ea in eae aunueensoee
l22 | Last 4 digits of account number o_o CS. $. $.
Priority Creditors Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

(] Debtor 1 only

(2 Debtor 2 only

(J Debtor 1 and Debtor 2 only

2 At least one of the debtors and another

C] Check if this claim is for a community debt

Is the claim subject to offset?
(2 No
Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
Q Contingent

Q Unliquidated

g Disputed

Type of PRIORITY unsecured claim:
2 Domestic support obligations
) Taxes and certain other debts you owe the government

{J Claims for death or personal injury while you were
intoxicated

C) other. Specify

 

page 1 of T

 
 

 

Case 20-10802 Doci1 Filed 01/21/20 Page 24 of 51

Debtor 4 Tache Alexus Scott

First Name Middie Name Last Name

ee All of Your NONPRIORITY Unsecured Claims

Case number (if known),

 

3. Do any creditors have nonpriority unsecured claims against you?

(2 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Wl Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

fas Sinai Hospital

 

 

 

Nonpriority Creditors Name

2401 E. Belvedere Ave

Number Street

Baltimore MD 21215
City State ZIP Code

 

Who incurred the debt? Check one.

a Debtor 1 only

2 Debtor 2 only

CJ Debtor 1 and Debtor 2 only

(2 At least one of the debtors and another

Check if this claim is for a community debt

{s the claim subject to offset?

vi No
CI ves

Le | Comenity Capital Bank

Last 4 digits of account number _1 _8 3 2

 

 

 

 

Nonpriority Creditors Name

P, O. Box 182789

Number Street

Columbus OH 43218
City State ZIP Code

Who incurred the debt? Check one.

a Debtor 1 only

CA debtor 2 only

() Debtor 1 and Debtor 2 only

(2 At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?
QO No

Yes

fs Navy Federal Credit Union

Nonoriority Creditors Name

P. O. Box 3700

Last 4 digits of account number _2 _1 _7 _4

 

Number Street

Merifield VA 22119

 

City State ZIP Code

Who incurred the debt? Check one.

Vi Debtor 1 only

CQ Debtor 2 only

CI Debtor 4 and Debtor 2 only

() At least one of the debtors and another

OQ) Check if this claim is for a community debt

ts the claim subject to offset?

VW No
Cl) Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

. Total claim

Last 4 digits of account number § 5 500.00

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.

(2 Contingent
C) Untiquidated
Q) Disputed

Type of NONPRIORITY unsecured claim:

(J Student loans

QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C2 Debts to pension or profit-sharing plans, and other similar debts
W@W otner. specity_Medical

When was the debt incurred? 07/16/2018

As of the date you file, the claim is: Check all that apply.

oO Contingent
2) unliquidated
O Disputed

Type of NONPRIORITY unsecured claim:

OQ Student loans

2 Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

wf Other. Specify Cha Acct-UTLAMC

s___ 6,596.74

 

When was the debt incurred? _06/20/2014

As of the date you file, the claim is: Check all that apply.

Q) Contingent
Q) untiquidated
O Disputed

Type of NONPRIORITY unsecured claim:

(1 Student loans

oO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
C2 Debts to pension or profit-sharing plans, and other similiar debts

W other. Specity_Credit Card

page2_of 7 __

 
 

Debtor 1 Tache

 

Case 20-10802 Doci Filed 01/21/20 Page 25 of 51

Alexus Scott
First Name Middle Name Last Name

Case number (i known).

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After tisting any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

44

 

 

 

Official Form 106E/F

Affiliate Asset Solutions

Last 4 digits of accountnumber 3. 9 4 9.

 

Nonpriority Creditors Name

145 Technology Parkway NW, Suite 100

When was the debt incurred? 05/02/2018

 

Number Street

As of the date you file, the claim is: Check all that apply.

 

 

 

 

 

 

 

 

 

Peachtree Corners GA 30092
City State ZIP Code Q Contingent
oO Unliquidated
Who incurred the debt? Check one. Q) pisputea
UV Debtor 4 only
LQ Debtor 2 only Type of NONPRIORITY unsecured claim:
©) Debtor 1 and Debtor 2 only CO Student loans
©) At east one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
O Check if this claim is for a community debt you did not report as priority claims _.
() Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Mf other. Specify_ Medical-MEP Health LLC
wa No
CJ Yes
Navy Federal Credit Union Last 4 digits of account number 4. 6 0. 0.
Nonpriority Creditors Name
When was the debt incurred? 02/28/2014
P. O. Box 3700 neues
Number Street
+ ge As of the date you file, the claim is: Check all that apply.
Merrifield VA 22119 you im avnarepey
City State ZIP Code CD Contingent
UC) untiquidated
Who incurred the debt? Check one. 0 pisputea
U Debtor 1 onty
C1) Debtor 2 only Type of NONPRIORITY unsecured ciaim:
(2 Debtor 1 and Debtor 2 only QQ student foans
(J At least one of the debtors and another Obligations arising out of a separation agreement or divorce that
Cl Check if this claim is for a community debt you did not report as Priority claims
CJ debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? WU other. Specify_Lien of Credit
a No
CG Yes
Comenity Bank Last 4 digits of account number 6
Nonpriority Creditors Name
When was the debt incurred?
P. O. Box 182789
Numbe! Street
Columbus ree OH 43218 As of the date you file, the claim is: Check all that apply.
City Stale ZIP Code (2 Contingent

Who incurred the debt? Check one.

V Debtor 1 only

debtor 2 only

CJ Debtor 1 and Debtor 2 only

Q2] Atleast one of the debtors and another

C] Check if this claim is for a community debt

Is the claim subject to offset?

CQ No
wv Yes

 

(2 uUnliquidated
C2 Disputed

Type of NONPRIORITY unsecured claim:
(2 Student loans

QO] obligations arising out of a separation agreement or divorce that

you did not report as priority claims

QC) Debts to pension or profit-sharing plans, and other similar debts

Wi other. specity_ Chg Acct-Victoria's Secret

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

g 498.75
¢___ 388.95
5 532.00

page3_of 7 _

 
 

Case 20-10802 Doci Filed 01/21/20 Page 26 of 51

Debtor1  Lache Alexus Scott

First Name Middle Name Last Name

Case number Gf known)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
47 oe
Navy Federal Credit Union Last 4 digits of account number 5 7 i 0 36,298.00.
Nonpriority Creditors Name
When was the debt incurred? 08/31/2015
P. O. Box 3700 was the eenmen oo
Number Street
: As of the d: file, the claim is: {I that apply.
Merrifield VA 22119 s of the date you file, the claim is: Check all that apply
City State ZIP Code Contingent
) unliquidated
Who incurred the debt? Check one. O disputed
“ Debtor 1 only
() Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only 2 Student loans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
C] Check if this claim is for a community debt you did not report as priority claims _
C2 vebts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? MW other. Specity_ Automobile
D No
C] Yes
State of Maryland - CCU Last 4 digits of account number 8 2 4 4. ¢_ 1,728.09
Nonpriority Creditors Name
Wh he debt i 2 02/22/2019
300 W. Preston Street en was the debt incurred? ———————
Number est As of the date you file, the claim is: Check all that app!
. ’ : c :
Baltimore MD 21201 ae y BS2 Check aanar apply
City State ZIP Code Q Contingent
OQ Untiquidated
Who incurred the debt? Check one. 2 disputed
V Debtor 1 only
©) Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only C2 student loans
At least one of the debtors and another 2 obligations arising out of a separation agreement or divorce that
(1 Check if this claim is for a community debt you did not report as priority claims a
CQ) Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? WM other. Specify_Insurance Lapse
fd No
QQ Yes
SR 1 5. 1,430.00
Fas Radiology Last 4 digits of account number FS) IN Lt
Nonpriority Creditors Name
When was the debt incurred? 07/19/2019
P. O. Box 3371 _
Number Street As of the date you file, the claim is: Check ail that appl
: . u . 2 a .
Indianapolis IN 46206 ¥ Pely
City State ZIP Code 1 Contingent

Who incurred the debt? Check one.

VW Debtor 7 only

U2 Debtor 2 only

() Debtor 1 and Debtor 2 only

(} At least one of the debtors and another

(] Check if this claim is for a community debt

Is the claim subject to offset?

i No
Cl) Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

QO Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

(2 Student loans

(1 Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(1 Debts to pension or profit-sharing plans, and other similar debts
 otner. Specity_ Medical

page4_of 7 _

 
 

Debtor 1

Case 20-10802 Doci Filed 01/21/20 Page 27 of 51

Tache Alexus Scott

 

First Name Middle Name Last Name

Case number (if known).

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

10

 

 

 

Official Form 106E/F

CBNA

Nonpriority Creditors Name

5800 South Corporate Place

 

Number Street

Sioux Falls SD 57108

 

City State ZIP Gode

Who incurred the debt? Check one.

YW bebtor 4 only

(1 debtor 2 only

(Cl Debtor 1 and Debtor 2 only

U) At jeast one of the debtors and another

(J Check if this claim is for a community debt

Is the claim subject to offset?

1 No

Yes

Caine & Weiner Co. Inc.
Nonpriority Creditor's Name

P.O. Box 55848

Number Street

Sherman Oaks CA

City State

91411

ZIP Code

Who incurred the debt? Check one.
Debtor 1 only

C) Debtor 2 only

() Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

(J Check if this claim is for a community debt

Is the claim subject to offset?

WF no
CG} Yes

Atlantic Financial FCU

Nonpriority Creditors Name

40 Schilling Road

Number Street
Hunt Valley MD
City State

21031
ZiP Cade

Who incurred the debt? Check one.

Wi Debtor 4 only

C] Debtor 2 only

O) Debtor 1 and Debtor 2 only

() Atieast one of the debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?
QO No

4 Yes

Last 4 digits of account number __
When was the debt incurred? 06/10/2016

As of the date you file, the claim is: Check ail that apply.

QO Contingent
© unliquidatea
U bisputed

Type of NONPRIORITY unsecured claim:

() Student loans

(J Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(2 Debts to pension or profit-sharing plans, and other similar debts

@ Other. Specify Chg Acct-Goodyear

Last 4 digits of account number XX 3 9.
When was the debt incurred? 04/08/2019

As of the date you file, the claim is: Check all that apply.

Oo Contingent
O) untiquidatea
Q Disputed

Type of NONPRIORITY unsecured claim:

() student leans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Q] Debts to pension or profit-sharing plans, and other similar debts

WM other. Specify_ Progressive Insurance

Last 4 digits of account number

04/02/2013

When was the debt incurred?

As of the date you file, the claim is: Check ail that apply.

Q Contingent
C) unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

(J Student toans

oO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

CI Debts to pension or profit-sharing plans, and other similar debts
i other. Specify

 

Schedule E/F: Creditors Who Have Unsecured Ciaims

Total claim
g¢ _501.00
¢ 581.00
“s _9.00

pageS_of 7 _

 
 

Case 20-10802 Doci1 Filed 01/21/20 Page 28 of 51

Debtor 4 Tache Alexus Scott Case number (if known),

First Name Middle Name Last Name

 

 

ee = Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Frontline Asset Strategies On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2700 Snelling Ave. N, Suite 250 Line 4.2 of (Check one): CJ Part 1: Creditors with Priority Unsecured Claims
Number Street W@ Part 2: Creditors with Nonpriority Unsecured Claims
. igi
Roseville MN 55113 Last 4 digits of account number
City State ZIP Code
Credit Collection Services On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. Box 607 Line 4.11 of (Cheek one): C1 Part 1: Creditors with Priority Unsecured Claims
Number Street WM Part 2: Creditors with Nonpriority Unsecured
Claims
Norwood MA 02062 Last 4 digits of account number_X X 9 _1
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): (2 Part 1: Creditors with Priority Unsecured Claims
Number Street 3 Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City : . State ZIP Code _ | . ae . .
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Q) Part 1: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpriority Unsecured
Claims
_ Last 4 digits of account number 6
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): 2) Part 1: Creditors with Priority Unsecured Claims
Number Street ) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number 6 LL
BY cess ue RAS eg FIP COME oe va seen sernang nhnenensesinscectenesennonaenecm tnt sbean ne! Me anSnahngen gum gene os Stee Ae at
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): (2 Part 1: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
RY erp rare wee SEE EP COM coun ten sitar ternensa ge rian ican ton sete sara ER
Name On which entry in Part 1 or Part 2 did you list the original creditor?
Line of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims
Number Street . . ss
2) Part 2: Creditors with Nonpriority Unsecured
Claims
ay Slate FIP Code Last 4 digits of account number 6
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page6_ of 7

 
 

Debtor 1

Tache

First Name

By the Amounts for Each Type of Unsecured Claim

 

Case 20-10802 Doci Filed 01/21/20 Page 29 of 51

Scott

Last Name

Alexus

Middie Name

Case number (known)

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Total claims
from Part 2

Official Form 106E/F

6a. Domestic support obligations

6b. Taxes and certain other debts you owe the
government

6c. Claims for death or personal injury while you were
intoxicated

6d. Other. Add all other priority unsecured claims.
Write that amount here.

6e. Total. Add lines 6a through 6d.

6f. Student loans

6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims

6h. Debts to pension or profit-sharing plans, and other
similar debts

6i. Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through Gi.

6a.

6b.

6c.

6d.

6e.

6f.

6h.

Gi.

Gj.

 

 

 

 

 

 

 

 

 

Total claim
$ 1.00
5 0.00
5 0.00
+5 0.00
5 0.00
Total claim
$ 0.00
$ 0.00
$ 0.00
+5 19,444.57
$ 19,444.57

 

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

page? of 7 _

 
 

 

 

Case 20-10802 Doci Filed 01/21/20 Page 30 of 51

TTT MTS MCS TicMALCOLetArcLiCeLim COM (e(itLAie mR ele L Mera oon

Debtor Tache Alexus Scott
First Name Middle Name Last Name

 

Debtor 2
{Spouse ff filing) First Name Middle Name

 

United States Bankruptcy Court for the: District of Maryland

Cc numbe' : oo
(known) Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12145

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. Do you have any executory contracts or unexpired leases?
(2 No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
a Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

 

Person or company with whom you have the contract or lease State what the contract or lease is for
21 The Reserve @ Greenspring Tenant Lease
Name

 

Number Street

 

City State ZIP Code

22° Sprint Cell phone

Name

 

Number Street

 

City ~ State ZIP Code

23
» Comcast internet

Name

 

Number Street

 

SHY. on _ State — ZIP Code
24

Name

 

 

Number Street

 

 

 

 

City / _ State ZIP Code
25

Name

Number Street

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of 1_

 
 

 

 

Case 20-10802 Doci1 Filed 01/21/20 Page 31 o0f51

aT MMC CMUC Lose cometh me LoL emer LLe

Debtor 4 Tache Alexus Scott
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Maryland

 

Case number
(If known)

 

LJ Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 1215

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

4. Do you have any codebtors? (if you are filing a joint case, do not list either spouse as a codebtor.)
i No
LI Yes
2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
WA No. Go to line 3.
C) Yes. Did your spouse, former spouse, or legal equivalent jive with you at the time?

L No

CJ Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor

Column 2: The creditor to whom you owe the debt

Check ail schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(2 Schedule D, line
Name TT
C) Schedule E/F, line
Number Street ] Schedule G, line
City ces ean SHARE ZIP Code pes ion begat eevee
3.2
(2 Schedule D, line
Name
OQ Schedule E/F, tine
Number Street Schedule G, line
City . . coe neue nee RMO ZIP Code
3.3
Q] Schedule D, line
Name
(] Schedule E/F, line
Number Street () Schedule G, line
SHY ene eee tie RG ee ee EP Code ee
Official Form 106H Schedule H: Your Codebtors page 1 of 1_

 
 

Case 20-10802 Doci1 Filed 01/21/20 Page 32 of 51

a MIUM LE SrALCesd tice COLD COM (CLARA as LoD Lmore ice

Debtor 1 Tache Alexus Scott

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middie Name

 

United States Bankruptcy Court for the: District of Maryland

Case number Check if this is:

(If known)
(U] An amended filing

Oa supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 m7 DDT WW
Schedule I: Your Income 42116

Be as complete and accurate as possible. !f two married people are filing togethor (Debtor 4 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse Is not filing with you, do not include Information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fillin your employment
information. Debtor 1 Debtor 2 or non-filing spouse

 

 

 

 

 

If you have more than one job,
attach a separate page with
information about additional Employment status LL Employed UL Employed

employers. i Not employed LJ Not employed
Include part-time, seasonal, or

self-employed work.
Occupation

 

Occupation may include student
or homemaker, if it applies.

Employer's name

 

 

 

 

 

 

Employer's address

Number Street Number Street

City State ZIP Code City State ZIP Code
How long employed there? Feb 2019 Feb 2019

Ee ove Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroil

 

deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 0.00 $
3. Estimate and list monthly overtime pay. 3. +3 0.00 +s
4. Calculate gross income. Add fine 2 + line 3. 4,1 $§ 0.00 $

 

 

 

 

 

Official Form 1061 Schedule |: Your Income page 1
Case 20-10802 Doci1 Filed 01/21/20 Page 33 of 51

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor1 _ Lache Alexus Scott Case number (known)
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 Were... cscscceeceecseeeescsseeeesssenesessseesesnsceeeanaseecnnnesecennettesanennssenenesae >4 g____ 9.00 $
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. 3 0.00 $
5b. Mandatory contributions for retirement plans 5b. §. 0.00 $
5c. Voluntary contributions for retirement plans Sc. $ 0.00 $
5d. Required repayments of retirement fund loans 5d. $ 0.00 $
5e. Insurance Se. $ 0.00 $
5f. Domestic support obligations Sf. oS. 0.00 $
5g. Union dues 5g. 5 0.00 $
5h. Other deductions. Specify: 5h. +3 0.00 +3
6. Add the payroll deductions. Add lines 5a+ 5b + Sc+Sd+5e+5f+5g+5h. 6. § 0.00 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $. 0.00 §.
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0.00 $
monthly net income. 8a. -
8b. Interest and dividends 8b.  $ 0.00 $
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony, spousal support, child support, maintenance, divorce $ 0.00 5
settlement, and property settlement. 8c. *
8d. Unemployment compensation 8d. 0.00 $
8e. Social Security 8e. 0.00 $
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: B.S. 9.00 $
8g. Pension or retirement income 8g. §$ 0.00 $
8h. Other monthly income. Specify: VA Comp Disability 8h. +$ 1,600.00 +$
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + Bh. 9. | $1,600.00 $
10. Calculate monthly income. Add line 7 + line 9. 4600.00 om 4
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. s__1,600.00 + s__0.00 = s__1,600.00

 

 

 

 

 

 

41. State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

42. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

 

Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies

13. Do you expect an increase or decrease within the year after you file this form?

C2 Yes. Explain:

No.

 

11.* $ 0.00
12. ; 1,600.00
Combined

monthly income

 

 

 

 

Official Form 1061 Schedule |: Your income

 

page 2
 

 

 

Case 20-10802 Doci Filed 01/21/20 Page 34 of 51

TTB RU GMINIELICLo TI COm OCHA ti Aime cele] met- coon

Debtors Tache_Alexus ____Scott Check if this is:

Debtor 2 O An amended filing

(Spouse, if filing) First Name Middle Name
C2 A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: District of Maryland expenses as of the following date:

 

Case number
(if Known)

 

MM / DD! YYYY

 

 

Official Form 106J
Schedule J: Your Expenses 1215

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

EEE Describe Your Household

1. Is this a joint case?

Wi No. Goto line 2.
2 Yes. Does Debtor 2 live in a separate household?

Q No
QO) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? WH No
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 4 and CJ Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?

Debtor 2. each dependent.........ccceee Oo
Do not state the dependents’ Q No
names. Yes

(J No
Q Yes

3 No
CQ) Yes

C) No
C) Yes

CI No
QO Yes

 

 

 

 

 

 

3. Do your expenses include Wi No
expenses of people other than Oo
__ yourself and your dependents? = Yes

FREE Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and § 1.325.00
any rent for the ground or lot. 4, ,
If not included in line 4:
4a. Real estate taxes 4a. 0.00
4b. Property, homeowner's, or renter’s insurance 4b. 10.00
4c. Home maintenance, repair, and upkeep expenses 4c. § 0.00
4d. Homeowner's association or condominium dues 4d. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1
 

 

 

Case 20-10802 Doci Filed 01/21/20 Page 35 of 51

 

 

 

 

 

 

 

 

 

 

 

Debtor ¢ Tache Alexus Scott Case number (ficiown),
First Name Middle Name Last Name
Your expenses
pence A OREO
5. Additional mortgage payments for your residence, such as home equity loans 5. § 0.00
6. Utilities:
6a. Electricity, heat, natural gas 6a. = § 180.00
8b. Water, sewer, garbage collection 6b. $. 0.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6. § 242.00
6d. Other. Specify: ed. §$ 0.00
7. Food and housekeeping supplies 7. $. 200.00
8. Childcare and children’s education costs 8. $ 0.00
9. Clothing, laundry, and dry cleaning 9. $ 30.00
10. Personal care products and services 10. = § 400.00
14. Medical and dental expenses 1. 0.00
12. Transportation. inciude gas, maintenance, bus or train fare. $ 400.00
Do not include car payments. 42.
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 30.00
44. Charitable contributions and retigious donations 4. § 0.00
15. Insurance,
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance tha. $ 0.00
15b. Health insurance 15b.  $ 0.00
18c. Vehicle insurance 150. §$ 0.00
15d. Other insurance. Specify: 16d. § 0.00
46. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16 «8 C00
17. Installment or lease payments:
17a. Car payments for Vehicle 1 17a. $ 0.00
47b. Car payments for Vehicle 2 : 170. §$ 0.00
17c. Other. Specify: 17. § 0.00
17d. Other. Specify: 174. §$ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule /, Your income (Official Form 106I). 18. g¢ 0.00
19. Other payments you make to support others who do not live with you.
Specify: 9 $ si.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. Mortgages on other property 20a. § 0.00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeowner's, or renter’s insurance 20c.  §. 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner's association or condominium dues 20e. § 0.00

Official Form 106J Schedule J: Your Expenses page 2
 

 

Case 20-10802 Doci Filed 01/21/20 Page 36 of 51

 

 

 

Debtor 1 Tache Alexus Scott Case number (if known)
First Name Middle Name Last Name
21. Other. Specify: 21. +$ 0.00

22. Calculate your monthly expenses.

22a. Add lines 4 through 21. 22a. g 2,217.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22. | § 0.00
22c. Add line 22a and 22b. The result is your monthly expenses. 22c. | § 2,217.00

23. Calculate your monthly net income.

 

$ 1,600.00
23a. Copy line 12 (your combined monthly income) trom Schedule |. 23a.
23b. Copy your monthly expenses from line 22c above. 23b. —§ 2,217.00
23c. Subtract your monthly expenses from your monthly income. -617.00
The result is your monthly net income. 23c. $ -

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car ioan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

Wi No.

Cl Yes. . Explain here:

Official Form 106J Schedule J: Your Expenses page 3
 

Case 20-10802 Doc1_ Filéd 01/21/20

aT MTAM UIT SMUOLE TOLL cOM Le CULCLS ae celeLmeer Loe

 

 

Debtor 4 Tache Alexus Scott
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Maryland

Case number

 

 

 

 

 

Page 37 of 51

minownl 0) Check if this is an
amended filing

Official Form 106Dec

Declaration About an Individual Debtor’s Schedules 42/15

 

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

CI No

wt Yes. Name of person Valli Lampkin . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and

that they are true and correct.

 

 

 

  
 

ome
~ Lat
: Ay ;
x IAL x
Signature of Debtor-t” Signature of Debtor 2
eo PY flo ens,
on ike p Ae
Date S we Date
M/ DD / YYYY MMi DD I YYYY

Official Form 106Dec Declaration About an Individual Debtor's Schedules
 

Case 20-10802 Doci Filed 01/21/20 Page 38 of 51

     
       

TT MTR UML Lem ome (cli Lelh me cen meer Ce

 

 

Debtor 4 Tache Alexus Scott

Ficst Name Middle Name Last Name

   
  
 

Debtor 2
{Spouse, if filing} First Name Middie Name Last Name

 
    
  
   

 

United States Bankruptcy Court for the: District of Maryland

Case number
(If known)

 

2 Check if this is an
amended filing

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

 

4. What is your current marital status?

wi Married
(J Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

CL) No

wf Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor1 Debtor 2: Dates Debtor 2
lived there lived there
Q Same as Debtor 1 Q Same as Debtor 1
1805 N. Payson Street From 03/01/2018 From
Numb Street Numb Street
umber eet To 12/01/2018 umber ee To
Baltimore MD 21217
City State ZIP Code City State ZIP Code
() same as Debtor 1 CJ same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivatent in a community property state or territory? (Communily property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

[J No
w Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

[Fizw#a Explain the Sources of Your Income

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 1

 
 

Case 20-10802 Doci Filed 01/21/20 Page 39 of 51

Alexus Scott
Middle Name Last Name

Tache

First Name

Debtor 1 Case number (if known),

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

W No

2 Yes. Fill in the details.

Debtor 4

Sources of income

Gross income

Debtor 2:

Sources of income

Gross income

 

Check all that apply. (before deductions and = Check all that apply. (before deductions and
exclusions) exclusions)
From January 1 of current year until O peaces, commissions, $ Oo paces. commissions. $
the date you filed for bankruptcy: onuses, Ups onuses, Ups
QO Operating a business Q Operating a business
For last calendar year: ) Wages, commissions, a] Wages, commissions,
bonuses, tips $ bonuses, tips $
(January 1 to December 31 2019 _) (Cl Operating a business CJ Operating a business
For the calendar year before that: Q Wages, commissions, OQ Wages, commissions,
bonuses, tips $ bonuses, tips $
(January 1 to December 31, maw QQ Operating a business Q Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardiess of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest: dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. if you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you fisted in line 4.

(J No
@ Yes. Fill in the details.

Debtor? ~ Debtor 2.

Sources of income Gross income from Sources of income Gross income from

 

 

 

 

 

 

 

 

 

Describe below. each source Describe below. each source
(before deductions and (before deductions and
exclusions} exclusions)
From January 1 of current year until VA Disability. g_—_—1,600.00_
the date you filed for bankruptcy:
For last calendar year: VA Disability § 17,600.00 $
(January 1 to December 31,2019__) a
YYYY
—$<—<—<— ———
For the calendar year before that:
(January 1 to December 31, ) $
YYYY §
$ ye

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2
 

Case 20-10802 Doci1 Filed 01/21/20 Page 40 of 51

Debtor1  Lache Alexus Scoit Case number (f known)

First Name Middle Name Last Name

ee = Certain Payments You Made Before You Filed for Bankruptcy

8. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

2] No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptey, did you pay any creditor a total of $6,825* or more?
C] No. Go to line 7.

(2) Yes. List below each creditor to whom you paid a total of $6,825" or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

a Yes. Debtor ¢ or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a totai of $600 or more?
Wi No. Go to line 7.
2 ves. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Dates of Total amount paid Amount you stilt owe Was this payment for...
payment

$ $ CJ mMorigage
U) car

Number Street C credit card

 

 

Creditors Name

 

() Loan repayment

 

Suppliers or vendors

 

City State ZIP Code C2 other

$ $ CY Mortgage
CJ car

C} credit card

 

 

Creditor’s Name

 

Number Street

] Loan repayment

 

Suppliers or vendors

 

 

 

 

 

 

City State ZIP Code Cl] other
$ $ Q Mortgage

Creditor’s Name

C} car
Number Street J credit card

QO Loan repayment

Q Suppliers or vendors
City State ZIP Code C other

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3
 

Case 20-10802 Doci Filed 01/21/20 Page 41 of 51

Debtor 4 Tache Alexus Scott

Case number (if known),
First Name Middie Name Last Name

7. Within 1 year before you filed for bankruptcy, did you make a payment ona debt you owed anyone who was an insider?

Insiders include your relatives; any general pariners, relatives of any general partners, partnerships of which you are a general partner,

corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a S

ole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

@ No

Gl] Yes. List all payments to an insider.

 

 

 

 

Dates of Total amount Amount you still. Reason for this payment
payment paid owe

- $ $
insider's Name
Number Street
City State ZIP Code

$. $

Insider's Name

 

 

 

 

Number Street

 

 

City State ZIP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?
include payments on debts guaranteed or cosigned by an insider.

No

{J Yes. List all payments that benefited an insider.

Dates of Total amount Amount you still Reason for this payment
payment paid owe Include creditor's name _

 

insider's Name $ s.

 

Number Street

 

 

City State ZIP Code

 

insider's Name

 

Number Street

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4
 

Case 20-10802 Doci1 Filed 01/21/20 Page 42 of 51

Debtor1 cache Alexus Scott

Case number (if known),

 

First Name Middle Name Last Name

Identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 4 year before you filed for bankruptcy,

were you a party in

any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, smail claims actions, divorces, collection suits, paternity actions, support or custody modifications,

and contract disputes.

Wi No

O Yes. Fill in the details.

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title Court Name CJ Pending
O on appeal
Number Street O conctuded
Case number
City State ZIP Code
Case title. Court Name O1 Pending
Ql On appeal
Number Street CI concluded

Case number

40. Within 1 year before you filed for bankruptcy,

Check ail that apply and fill in the details below.

w No. Go to line 11.
Cl] Yes. Fill in the information below.

 

Creditors Name

 

Number Street

 

 

 

 

 

 

City State ZIP Code
Creditors Name

Number Street

City State ZIP Code

 

City State ZIP Code

Describe the property Date

Explain what happened

2 Property was repossessed.
C] Property was foreciosed.
) Property was garnished.

(1 Property was attached, seized, or levied.

Describe the property Date

Explain what happened

Property was repossessed.

Property was foreclosed.

Property was garnished.

Property was attached, seized, or levied.

Oooo

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

was any of your property repossessed, foreciosed, garnished, attached, seized, or levied?

Value of the property

$__

Value of the property

page 5
 

Case 20-10802 Doci Filed 01/21/20 Page 43 of 51

Debtor 1 Tache Alexus Scott Case number (f known),

First Name Middie Name Last Name

 

41. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

Wi No

O ves. Fill in the details.

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditor's Name :
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXX-___ __

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

i No
QO] Yes

eee Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
of No

Q] Yes. Fill in the details for each gift.

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
_—_——— $_
Person to Whom You Gave the Gift
$

 

 

Number Street

 

City State ZIP Code

Person's relationship to you

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person : . _ the gifts
ee $
Person to Whom You Gave the Gift
—____— $___

 

 

Number Street

 

City State ZIP Code

Person’s relationship to you

 

Official Form 107 Statement of Financial Affairs for Individuats Filing for Bankruptcy page 6
 

Case 20-10802 Doci Filed 01/21/20 Page 44 of 51

Debtor 1 Tache Alexus Scott Case number (if known),

First Name Middle Name Last Name

44.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

@ No

2 Yes. Fill in the details for each gift or contribution.

 

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
3.
Charity's Name
3

 

 

Number Street

 

City State ZIP Code

ae «: Certain Losses

45. Within 4 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

QO No
WW Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred | oo, oo, loss lost
Include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

2012 Hyundai Sonata Accident. No insurance compensation forthe 09/21/2019
accident.

ke = Certain Payments or Transfers

. 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

Wl No

2 Yes. Fill in the details.

$__

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid ce eee oe tony yc ene . i, Made
Number Street $
$

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7
 

Case 20-10802 Doci Filed 01/21/20 Page 45 of 51

 

 

 

 

Debtor 1 Tache Alexus Scott Case number (if known),
First Name Middle Name Last Name
Description and value of any property transferred Date payment or Amount of

transfer was made payment

Person Who Was Paid
—__— $__

Number Street
——_—_ $__

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

- 47. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to heip you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

@ No

(2 Yes. Fill in the details.

 

 

 

 

Description and value of any property transferred Date paymentor Amount of payment
transfer was
made
Person Who Was Paid
Number Street $
_ $

 

 

City State ZIP Code

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property

transferred in the ordinary course of your business or financial affairs?

include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).

Do not include gifts and transfers that you have already listed on this statement.

W No

Q) Yes. Fill in the details.
Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person’s relationship to you

 

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person's relationship to you

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 
 

Case 20-10802 Doci1 Filed 01/21/20 Page 46 of 51

Debtor  Fache Alexus Scott Case number (ifknown)
First Name Middle Name Last Name

49.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

Wf No

(2 Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust ao

 

Certain n Financlal 1 Accounts, _ instruments, 8 Safe , Deposit Boxes, and Storage Units

" 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

wi No
C) Yes. Fill in the details.
Last 4 digits of account number Type of account or Date account was Last balance before

instrument closed, solid, moved, closing or transfer
or transferred

 

Name of Financial Institution

XXXX-__ UO) checking

—__—. $__

 

Number Street Q Savings
Q Money market

 

QO Brokerage

 

City State ZIP Code Q Other.

 

XXXX-__ CL} checking
Oo Savings

 

 

Name of Financial Institution

 

Number Street Q Money market

 

Q Brokerage
Cl other

 

 

City State ZIP Code

’ 24. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
: securities, cash, or other valuables?

Gf No

Q Yes. Fill in the details.

 

 

Who else had access to it? Describe the contents Do you still
have it?
OQ) No
Name of Financial Institution Name QO) Yes

 

 

Number Street Number Street

 

 

City State ZiP Code

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 9

 
 

Case 20-10802 Doci Filed 01/21/20 Page 47 of 51

Debtor 4 Tache Alexus Scott Case number (if known)
First Name Middle Name Last Name

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
(2 Yes. Fill in the details.

 

 

 

Who else has or had access to it? Describe the contents Do you still
ao have it?
Q)No
Name of Storage Facllity Name Q Yes
Number Street Number Street

 

CityState ZIP Code

 

City State ZIP Code

aE teary Property You Hold or Control for Someone Elise
: 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
w No
Q] Yes. Fill in the details.
Where is the property? Describe the property Value

 

Owner's Name $

 

b Street

 

Number Street

 

 

 

 

City State ZIP Code
City State ZIP Code

Pct Give Detalls About Environmental information

 

For the purpose of Part 10, the following definitions apply:

« Environmental law means any federal, state, or local statute or regulation conceming pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soll, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

s Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

@ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardiess of when they occurred.

24, Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

Wi No

Yes. Fill in the details.

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street
ne
City State ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 10
Case 20-10802 Doci Filed 01/21/20 Page 48 of 51

Debtor 1 Tache Alexus Scott Case number (if known)

First Name Middle Name Last Name

26. Have you notified any governmental unit of any release of hazardous material?

Wi No

Cl Yes. Fill in the details.

 

 

 

Governmental unit. Environmental law, if you know it Date of notice
Name of site Governmental unit : 8
Number Street Number Street :

city State ZIP Code

 

: City State ZIP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Wi No

O] Yes. Fill in the details.

 

 

 

 

 

 

Court or agency Nature of the case Stas of the
Case title
Court Name QO Pending
QO On appeal
Number Street Q Concluded
Case number City State ZIP Code

Give Details About Your Business or Connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
Q) A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
Gd A member of a limited liability company (LLC) or limited liability partnership (LLP)
Qa partner in a partnership
Cl An officer, director, or managing executive of a corporation

C2 An owner of at least 5% of the voting or equity securities of a corporation

w No. None of the above applies. Go to Part 12.
Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer identification number
Do not include Social Security number or ITIN.

 

Business Name

 

 

 

 

 

EIN:
Number Street cae ve . ew utes Len ees
Name of accountant or bookkeeper Dates business existed
> From To
City State ZIP Code : .
Describe the nature of the business Employer Identification number

 

- Do not include Social Security number or ITIN.
Business Name

 

 

EIN; oe LL
Number Street .
Name of accountant or bookkeeper Dates business existed
From _ ‘To

 

 

City State ZIP Code

Official Form 107 Statement of Financia! Affairs for individuals Filing for Bankruptcy page 11

 

 
 

Case 20-10802 Doci Filed 01/21/20 Page 49 of 51

Debtor 1 Tache Alexus Scott Case number (known)

First Name Middle Name Last Name

Employer Identification number
Do not include Social Security number or ITIN.

Describe the nature of the business

 

Business Name

 

 

EIN: 2 LL
Number Street Name of accountant or bookkeeper Dates business existed
From __ sto

 

 

City State ZIP Code

 

_ 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties.

W No

O Yes. Fill in the details below.

Date issued

 

 

Name MM /DD/YYYY

 

Number’ Street

 

 

City State ZIP Code

~~

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

48 U.S.C. §§ 152, 1341, 1519, and 3571.

  

x oO. y Lt x

Signature of Debtor 1 Signature of Debtor 2

a

 

   

fy \ oN OK rey
Date U L
Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

WM No

QO) Yes

Date

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
Q) No

Wf Yes. Name of person Valli Lampkin _ Attach the Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119).

Official Form 107 Statement of Financial Affairs for Individuats Filing for Bankruptcy page 12
 

Case 20-10802 Doci Filed 01/21/20 Page 50 of 51

United States Bankruptcy Court)», JAMO] par
District of Maryland SUMAN CE PH 3: 26

 
 

In Re: Tache Alexus Scott Case Number:

Debtor(s) Chapter: 7

VERIFICATION OF CREDITOR MATRIX

The above named Debtors hereby verify that the attached list of creditors is true and correct to the best of their
knowledge.

 

ey ie
Date: \ \ iG \ gas #™ Signature of Debtor(s): e
V4 S

 
 

Case 20-10802 Doc1 Filed 01/21/20

Affiliate Asset Solutions
145 Technology parkway NW, Suite 100
Peachtree Corners, GA 3092

Atlantic Financial Federal Credit Union
40 Schilling Road
Hunt Valley, MD 21031

Caine & Weiner Co Inc.
P. O. Box 55848
Sherman Oaks, CA 91411

CBNA
5800 South Corporate Place
Sioux Falls, SD 57108

Comenity Capital Bank
P. O. Box 182789
Columbus, OH 43218-2789

Credit Collection Services
P. O. Box 607
Norwood, MA 02062

F & S Radiology
P. O. Box 3371
Indianapolis, IN 46206-3371

Frontline Asset Strategies
2700 Snelling Ave., N, Suite 250
Roseville, MN 55118

Navy Federal Credit Union
P. O. Box 3700
Merrifield, VA 22119-3700

Sinai Hospital
2401 W. Belvedere Ave.
Baltimore, MD 21215

State of Maryland - CCU

300 W. Preston Street
Baltimore, MD 21201-2321

Page 51 of 51
